 Fill in this information to identify the case:

 Debtor name         SMARTCOMM, LLC

 United States Bankruptcy Court for the:            DISTRICT OF ARIZONA

 Case number (if known)         2:19-bk-03343
                                                                                                                                 Check if this is an
                                                                                                                                 amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                        12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                  Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
                  Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                  Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
                  Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
                  Schedule H: Codebtors (Official Form 206H)
                  Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                  Amended Schedule
                  Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                  Other document that requires a declaration

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on          March 29, 2019                          X /s/ CAROLE DOWNS
                                                                       Signature of individual signing on behalf of debtor

                                                                       CAROLE DOWNS
                                                                       Printed name

                                                                       MANAGER
                                                                       Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                        Best Case Bankruptcy




            Case 2:19-bk-03343-EPB                             Doc 8 Filed 03/29/19 Entered 03/29/19 14:39:13                            Desc
                                                               Main Document    Page 1 of 23
 Fill in this information to identify the case:

 Debtor name            SMARTCOMM, LLC

 United States Bankruptcy Court for the:                       DISTRICT OF ARIZONA

 Case number (if known)               2:19-bk-03343
                                                                                                                                                                                       Check if this is an
                                                                                                                                                                                       amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                   12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                  $                    0.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                     $        4,555,711.69

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                    $        4,555,711.69


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                  $                    0.00


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                     $                    0.00

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                             +$       20,412,585.58


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                           $         20,412,585.58




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                 page 1
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                                                          Best Case Bankruptcy
             Case 2:19-bk-03343-EPB                                          Doc 8 Filed 03/29/19 Entered 03/29/19 14:39:13                                                                    Desc
                                                                             Main Document    Page 2 of 23
 Fill in this information to identify the case:

 Debtor name         SMARTCOMM, LLC

 United States Bankruptcy Court for the:            DISTRICT OF ARIZONA

 Case number (if known)         2:19-bk-03343
                                                                                                                                       Check if this is an
                                                                                                                                       amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                      12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
 schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
 debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
 Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

        No. Go to Part 2.
         Yes Fill in the information below.
      All cash or cash equivalents owned or controlled by the debtor                                                                   Current value of
                                                                                                                                       debtor's interest

 3.        Checking, savings, money market, or financial brokerage accounts (Identify all)
           Name of institution (bank or brokerage firm)         Type of account                             Last 4 digits of account
                                                                                                            number


           3.1.     ALLIANCE BANK OF AZ                                     CHECKING ACCOUNT                7061                                     $5,186.82




           3.2.     ALLIANCE BANK OF AZ                                     CHECKING ACCOUNT                7129                                         $24.87



 4.        Other cash equivalents (Identify all)

 5.        Total of Part 1.                                                                                                                      $5,211.69
           Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

 Part 2:          Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

        No. Go to Part 3.
        Yes Fill in the information below.


 Part 3:          Accounts receivable
10. Does the debtor have any accounts receivable?

        No. Go to Part 4.
        Yes Fill in the information below.


 Part 4:          Investments
Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                               page 1
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                              Best Case Bankruptcy
            Case 2:19-bk-03343-EPB                             Doc 8 Filed 03/29/19 Entered 03/29/19 14:39:13                                  Desc
                                                               Main Document    Page 3 of 23
 Debtor         SMARTCOMM, LLC                                                                Case number (If known) 2:19-bk-03343
                Name

13. Does the debtor own any investments?

        No. Go to Part 5.
        Yes Fill in the information below.

                                                                                                      Valuation method used   Current value of
                                                                                                      for current value       debtor's interest

 14.       Mutual funds or publicly traded stocks not included in Part 1
           Name of fund or stock:

 15.       Non-publicly traded stock and interests in incorporated and unincorporated businesses, including any interest in an LLC,
           partnership, or joint venture
           Name of entity:                                               % of ownership
                     LICENSE ACQUISITIONS, LLC (ASSETS ARE
                     BANK ACCOUNT WITH $4,293.93 BALANCE
           15.1.     - FCC LICENSES DISPUTED)                                       68            %                                       $7,000.00



                     PREFERRED SPECTRUM INVESTMENTS,
           15.2.     LLC (DEBTS EXCEED ASSETS)                                      10            %                                       Unknown



                     SMARTCOMM LICENSE SERVICES, LLC
           15.3.     (FILED CHAPTER 7)                                              100           %                                             $0.00



 16.       Government bonds, corporate bonds, and other negotiable and non-negotiable instruments not included in Part 1
           Describe:


 17.       Total of Part 4.                                                                                                           $7,000.00
           Add lines 14 through 16. Copy the total to line 83.

 Part 5:        Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

        No. Go to Part 6.
        Yes Fill in the information below.


 Part 6:        Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

        No. Go to Part 7.
        Yes Fill in the information below.


 Part 7:        Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

        No. Go to Part 8.
        Yes Fill in the information below.

           General description                                                Net book value of       Valuation method used   Current value of
                                                                              debtor's interest       for current value       debtor's interest
                                                                              (Where available)

 39.       Office furniture

 40.       Office fixtures

 41.       Office equipment, including all computer equipment and

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                 page 2
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                   Best Case Bankruptcy
            Case 2:19-bk-03343-EPB                             Doc 8 Filed 03/29/19 Entered 03/29/19 14:39:13                        Desc
                                                               Main Document    Page 4 of 23
 Debtor         SMARTCOMM, LLC                                                                Case number (If known) 2:19-bk-03343
                Name

            communication systems equipment and software
            ELECTRONIC FILES AND E-MAIL SERVER                                              $0.00                                               $0.00


            PAPER FILES, BRANDED NOTEPADS USB
            DRIVES, COSTOMER LIST, AND PAST
            PROSPECTS                                                                       $0.00                                           $500.00



 42.        Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork;
            books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card
            collections; other collections, memorabilia, or collectibles

 43.        Total of Part 7.                                                                                                               $500.00
            Add lines 39 through 42. Copy the total to line 86.

 44.        Is a depreciation schedule available for any of the property listed in Part 7?
               No
               Yes

 45.        Has any of the property listed in Part 7 been appraised by a professional within the last year?
               No
               Yes

 Part 8:        Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

        No. Go to Part 9.
        Yes Fill in the information below.


 Part 9:        Real property
54. Does the debtor own or lease any real property?

        No. Go to Part 10.
        Yes Fill in the information below.


 Part 10:       Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

        No. Go to Part 11.
        Yes Fill in the information below.

            General description                                               Net book value of       Valuation method used   Current value of
                                                                              debtor's interest       for current value       debtor's interest
                                                                              (Where available)

 60.        Patents, copyrights, trademarks, and trade secrets

 61.        Internet domain names and websites

 62.        Licenses, franchises, and royalties

 63.        Customer lists, mailing lists, or other compilations
            CUSTOMER LIST AND PAST PROSPECTS                                                $0.00                                         Unknown



 64.        Other intangibles, or intellectual property

 65.        Goodwill


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                 page 3
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                   Best Case Bankruptcy
            Case 2:19-bk-03343-EPB                             Doc 8 Filed 03/29/19 Entered 03/29/19 14:39:13                        Desc
                                                               Main Document    Page 5 of 23
 Debtor         SMARTCOMM, LLC                                                               Case number (If known) 2:19-bk-03343
                Name


 66.        Total of Part 10.                                                                                                                     $0.00
            Add lines 60 through 65. Copy the total to line 89.

 67.        Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C.§§ 101(41A) and 107?
               No
               Yes

 68.        Is there an amortization or other similar schedule available for any of the property listed in Part 10?
               No
               Yes

 69.        Has any of the property listed in Part 10 been appraised by a professional within the last year?
               No
               Yes

 Part 11:       All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

        No. Go to Part 12.
        Yes Fill in the information below.

                                                                                                                                   Current value of
                                                                                                                                   debtor's interest


 71.        Notes receivable
            Description (include name of obligor)
                                                                          3,700,000.00 -                                  0.00 =
            CAROL DOWNS                                               Total face amount    doubtful or uncollectible amount               $3,700,000.00


                                                                            843,000.00 -                                  0.00 =
            IOTA NETWORKS, LLC                                        Total face amount    doubtful or uncollectible amount                 $843,000.00


            JUDGMENT: KENT MAERKI                                        28,000,000.00 -                       28,000,000.00 =
            (PROBABLY UNCOLLECTABLE)                                  Total face amount    doubtful or uncollectible amount                    Unknown



 72.        Tax refunds and unused net operating losses (NOLs)
            Description (for example, federal, state, local)

 73.        Interests in insurance policies or annuities

 74.        Causes of action against third parties (whether or not a lawsuit
            has been filed)
            CARLA MARSHALL - INDEMNITY CLAIM FOR COST OF
            LAWSUIT AND JUDGMENT - ONGOING CASE                                                                                                Unknown
            Nature of claim
            Amount requested                                             $0.00



 75.        Other contingent and unliquidated claims or causes of action of
            every nature, including counterclaims of the debtor and rights to
            set off claims

 76.        Trusts, equitable or future interests in property

 77.        Other property of any kind not already listed Examples: Season tickets,
            country club membership


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                      page 4
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                        Best Case Bankruptcy
            Case 2:19-bk-03343-EPB                             Doc 8 Filed 03/29/19 Entered 03/29/19 14:39:13                            Desc
                                                               Main Document    Page 6 of 23
 Debtor         SMARTCOMM, LLC                                                               Case number (If known) 2:19-bk-03343
                Name


 78.       Total of Part 11.                                                                                                        $4,543,000.00
           Add lines 71 through 77. Copy the total to line 90.

 79.       Has any of the property listed in Part 11 been appraised by a professional within the last year?
               No
               Yes




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                  page 5
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                    Best Case Bankruptcy
            Case 2:19-bk-03343-EPB                             Doc 8 Filed 03/29/19 Entered 03/29/19 14:39:13                        Desc
                                                               Main Document    Page 7 of 23
 Debtor          SMARTCOMM, LLC                                                                                      Case number (If known) 2:19-bk-03343
                 Name



 Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                               Current value of                    Current value of real
                                                                                                     personal property                   property

 80. Cash, cash equivalents, and financial assets.
     Copy line 5, Part 1                                                                                              $5,211.69

 81. Deposits and prepayments. Copy line 9, Part 2.                                                                          $0.00

 82. Accounts receivable. Copy line 12, Part 3.                                                                              $0.00

 83. Investments. Copy line 17, Part 4.                                                                               $7,000.00

 84. Inventory. Copy line 23, Part 5.                                                                                        $0.00

 85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

 86. Office furniture, fixtures, and equipment; and collectibles.
     Copy line 43, Part 7.                                                                                               $500.00

 87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                               $0.00

 88. Real property. Copy line 56, Part 9.........................................................................................>                                $0.00

 89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

 90. All other assets. Copy line 78, Part 11.                                                    +              $4,543,000.00

 91. Total. Add lines 80 through 90 for each column                                                         $4,555,711.69            + 91b.                      $0.00


 92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $4,555,711.69




Official Form 206A/B                                               Schedule A/B Assets - Real and Personal Property                                                           page 6
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                                  Best Case Bankruptcy
             Case 2:19-bk-03343-EPB                                 Doc 8 Filed 03/29/19 Entered 03/29/19 14:39:13                                                 Desc
                                                                    Main Document    Page 8 of 23
 Fill in this information to identify the case:

 Debtor name         SMARTCOMM, LLC

 United States Bankruptcy Court for the:            DISTRICT OF ARIZONA

 Case number (if known)         2:19-bk-03343
                                                                                                                                 Check if this is an
                                                                                                                                 amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                         12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?

         No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
         Yes. Fill in all of the information below.




Official Form 206D                               Schedule D: Creditors Who Have Claims Secured by Property                                       page 1 of 1
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                         Best Case Bankruptcy
            Case 2:19-bk-03343-EPB                             Doc 8 Filed 03/29/19 Entered 03/29/19 14:39:13                            Desc
                                                               Main Document    Page 9 of 23
 Fill in this information to identify the case:

 Debtor name         SMARTCOMM, LLC

 United States Bankruptcy Court for the:            DISTRICT OF ARIZONA

 Case number (if known)           2:19-bk-03343
                                                                                                                                                   Check if this is an
                                                                                                                                                   amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                  12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:      List All Creditors with PRIORITY Unsecured Claims

       1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

             No. Go to Part 2.

             Yes. Go to line 2.


 Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
       3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
          out and attach the Additional Page of Part 2.
                                                                                                                                                      Amount of claim

 3.1       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.              $495,557.69
           DAVID ALCORN PC                                                      Contingent
           C/O TIFFANY @ BOSCO                                                  Unliquidated
           2525 E CAMELBACK ROAD                                                Disputed
           Phoenix, AZ 85016
                                                                             Basis for the claim:    JUDGMENT
           Date(s) debt was incurred
           Last 4 digits of account number                                   Is the claim subject to offset?       No     Yes


 3.2       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.              $431,371.22
           JANUS SPECTRUM, LLC                                                  Contingent
           C/O THOMAS LITTLER, ESQ.                                             Unliquidated
           341 W SECRETARIAT DRIVE                                              Disputed
           Tempe, AZ 85284
                                                                             Basis for the claim:    JUDGMENT
           Date(s) debt was incurred
           Last 4 digits of account number                                   Is the claim subject to offset?       No     Yes


 3.3       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.              $302,273.67
           JON PALMIERI                                                         Contingent
           C/O OSBORN MALEDON                                                   Unliquidated
           2929 N CENTRAL AVENUE                                                Disputed
           Phoenix, AZ 85012
                                                                             Basis for the claim:    JUDGMENT
           Date(s) debt was incurred
           Last 4 digits of account number                                   Is the claim subject to offset?       No     Yes


 3.4       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.            $1,000,000.00
           PREFERRED COMMUNICATION SYSTEMS,
           INC                                                                  Contingent
           C/O THE WILLIFORD FIRM LLC                                           Unliquidated
           901 N MARKET STREET, SUITE 800                                       Disputed
           Wilmington, DE 19801
                                                                             Basis for the claim:    LAWSUIT
           Date(s) debt was incurred
           Last 4 digits of account number                                   Is the claim subject to offset?       No     Yes




Official Form 206E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                     page 1 of 2
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                         35518                                            Best Case Bankruptcy
             Case 2:19-bk-03343-EPB                            Doc 8 Filed 03/29/19 Entered 03/29/19 14:39:13                                              Desc
                                                              Main Document    Page 10 of 23
 Debtor       SMARTCOMM, LLC                                                                          Case number (if known)            2:19-bk-03343
              Name

 3.5       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.               $50,000.00
           ROBERT WATERS                                                        Contingent
           C/O MCGILL LAW FIRM                                                  Unliquidated
           4421 N 75TH STREET, SUITE 101                                        Disputed
           Scottsdale, AZ 85251
                                                                             Basis for the claim:    LAWSUIT
           Date(s) debt was incurred
           Last 4 digits of account number                                   Is the claim subject to offset?         No     Yes


 3.6       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.           $16,433,383.00
           SMARTCOMM LICENSE SERVICES, LLC                                      Contingent
           2111 E HIGHLAND AVENUE, SUITE 305                                    Unliquidated
           Phoenix, AZ 85016                                                    Disputed
           Date(s) debt was incurred
                                                                                          INSIDER DEBT TO WHOLLY OWNED SUBSIDIARY,
                                                                             Basis for the claim:
           Last 4 digits of account number                                   DEBT ELIMINATES ON CONSOLIDATION
                                                                             Is the claim subject to offset?         No     Yes

 3.7       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.            $1,700,000.00
           VERTICAL VENTURES II, LLC                                            Contingent
           C/O OSBORN MALEDON                                                   Unliquidated
           2929 N CENTRAL AVENUE                                                Disputed
           Phoenix, AZ 85012
                                                                             Basis for the claim:    LAWSUIT
           Date(s) debt was incurred
           Last 4 digits of account number                                   Is the claim subject to offset?         No     Yes



 Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

   If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

           Name and mailing address                                                                   On which line in Part1 or Part 2 is the        Last 4 digits of
                                                                                                      related creditor (if any) listed?              account number, if
                                                                                                                                                     any
 4.1       TIFFANY & BOSCO
           2525 EAST CAMELBACK ROAD, SUITE 300                                                        Line     3.7
           Phoenix, AZ 85016
                                                                                                             Not listed. Explain

 4.2       WILENCHIK & BARTNESS
           2810 NORTH THIRD ST.                                                                       Line     3.1
           Phoenix, AZ 85004
                                                                                                             Not listed. Explain


 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                          Total of claim amounts
 5a. Total claims from Part 1                                                                            5a.          $                          0.00
 5b. Total claims from Part 2                                                                            5b.    +     $                 20,412,585.58

 5c. Total of Parts 1 and 2
     Lines 5a + 5b = 5c.                                                                                 5c.          $                    20,412,585.58




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 2 of 2
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                          Best Case Bankruptcy
            Case 2:19-bk-03343-EPB                             Doc 8 Filed 03/29/19 Entered 03/29/19 14:39:13                                              Desc
                                                              Main Document    Page 11 of 23
 Fill in this information to identify the case:

 Debtor name         SMARTCOMM, LLC

 United States Bankruptcy Court for the:            DISTRICT OF ARIZONA

 Case number (if known)         2:19-bk-03343
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.    Does the debtor have any executory contracts or unexpired leases?
        No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal          Property
(Official Form 206A/B).

 2. List all contracts and unexpired leases                                    State the name and mailing address for all other parties with
                                                                               whom the debtor has an executory contract or unexpired
                                                                               lease

 2.1.        State what the contract or                   WEBSITE & EMAIL
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                    GO DADDY
             List the contract number of any                                        14455 N HAYDEN ROAD, SUITE 100
                   government contract                                              Scottsdale, AZ 85260


 2.2.        State what the contract or                   SERVERS FOR FILES
             lease is for and the nature of               AND EMAIL
             the debtor's interest

                  State the term remaining
                                                                                    SIMPLICITY TECHS (NEW HORIZON TECH)
             List the contract number of any                                        3120 W CAREFREE HIGHWAY
                   government contract                                              Phoenix, AZ 85086




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                             Page 1 of 1
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                          Best Case Bankruptcy
            Case 2:19-bk-03343-EPB                             Doc 8 Filed 03/29/19 Entered 03/29/19 14:39:13                               Desc
                                                              Main Document    Page 12 of 23
 Fill in this information to identify the case:

 Debtor name         SMARTCOMM, LLC

 United States Bankruptcy Court for the:            DISTRICT OF ARIZONA

 Case number (if known)         2:19-bk-03343
                                                                                                                                Check if this is an
                                                                                                                                amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                       12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

      1. Do you have any codebtors?

    No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
    Yes

   2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
      creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
      on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
            Column 1: Codebtor                                                                        Column 2: Creditor



             Name                              Mailing Address                                   Name                            Check all schedules
                                                                                                                                 that apply:

    2.1      SMARTCOMM                         2111 E HIGHLAND AVENUE, SUITE 305                 DAVID ALCORN PC                    D
             LICENSE                           Phoenix, AZ 85016                                                                    E/F       3.1
             SERVICES, LLC
                                                                                                                                    G




    2.2      SMARTCOMM                         2111 E HIGHLAND AVENUE, SUITE 305                 JON PALMIERI                       D
             LICENSE                           Phoenix, AZ 85016                                                                    E/F       3.3
             SERVICES, LLC
                                                                                                                                    G




    2.3      SMARTCOMM                         2111 E HIGHLAND AVENUE, SUITE 305                 JANUS SPECTRUM,                    D
             LICENSE                           Phoenix, AZ 85016                                 LLC                                E/F       3.2
             SERVICES, LLC
                                                                                                                                    G




Official Form 206H                                                        Schedule H: Your Codebtors                                          Page 1 of 1
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                        Best Case Bankruptcy
            Case 2:19-bk-03343-EPB                             Doc 8 Filed 03/29/19 Entered 03/29/19 14:39:13                           Desc
                                                              Main Document    Page 13 of 23
 Fill in this information to identify the case:

 Debtor name         SMARTCOMM, LLC

 United States Bankruptcy Court for the:            DISTRICT OF ARIZONA

 Case number (if known)         2:19-bk-03343
                                                                                                                                           Check if this is an
                                                                                                                                           amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                         04/16
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

 Part 1:      Income

1. Gross revenue from business

           None.

       Identify the beginning and ending dates of the debtor’s fiscal year,                    Sources of revenue                          Gross revenue
       which may be a calendar year                                                            Check all that apply                        (before deductions and
                                                                                                                                           exclusions)

       From the beginning of the fiscal year to filing date:                                       Operating a business                                          $0.00
       From 1/01/2019 to Filing Date
                                                                                                   Other


       For prior year:                                                                             Operating a business                               $177,014.00
       From 1/01/2018 to 12/31/2018
                                                                                                   Other


       For year before that:                                                                       Operating a business                                 $31,634.00
       From 1/01/2017 to 12/31/2017
                                                                                                   Other

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

           None.

                                                                                               Description of sources of revenue           Gross revenue from
                                                                                                                                           each source
                                                                                                                                           (before deductions and
                                                                                                                                           exclusions)

 Part 2:      List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $6,425. (This amount may be adjusted on 4/01/19
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

           None.

       Creditor's Name and Address                                         Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                               Check all that apply

4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                     page 1
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                  Best Case Bankruptcy
            Case 2:19-bk-03343-EPB                             Doc 8 Filed 03/29/19 Entered 03/29/19 14:39:13                                      Desc
                                                              Main Document    Page 14 of 23
 Debtor       SMARTCOMM, LLC                                                                            Case number (if known) 2:19-bk-03343



    or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $6,425. (This amount
    may be adjusted on 4/01/19 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
    listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
    debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

           None.

       Insider's name and address                                          Dates                 Total amount of value           Reasons for payment or transfer
       Relationship to debtor
       4.1.    M2M SPECTRUM NETWORKS LLC                                   3/2018,                          $97,065.69           LOANED FUNDS AND LOANED
               2111 E. HIGHLAND AVE. #305                                  4/2018,                                               LEGAL RETAINER TRANSFER
               Phoenix, AZ 85016                                           6/2018

5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

           None

       Creditor's name and address                               Describe of the Property                                      Date                   Value of property

       JON PALMIERI                                              MONEY GARNISHED CAROLE DOWNS                                  3/4/2019                    $38,682.22
       C/O OSBORN MALEDON
       2929 N CENTRAL AVENUE
       Phoenix, AZ 85012


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

           None

       Creditor's name and address                               Description of the action creditor took                       Date action was                  Amount
                                                                                                                               taken

 Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

           None.

               Case title                                        Nature of case             Court or agency's name and                Status of case
               Case number                                                                  address
       7.1.    ALCORN                                                                       MARICOPA COUNTY                               Pending
               v                                                                            SUPERIOR COURT                                On appeal
               SMARTCOMM, LLC and                                                           201 W. JEFFERSON
                                                                                                                                          Concluded
               SMARTCOMM LICENSE                                                            Phoenix, AZ 85003-2205
               SERVICES, LLC
               CV2018-011966

8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

           None


 Part 4:      Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                        page 2
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
              Case 2:19-bk-03343-EPB                           Doc 8 Filed 03/29/19 Entered 03/29/19 14:39:13                                          Desc
                                                              Main Document    Page 15 of 23
 Debtor        SMARTCOMM, LLC                                                                               Case number (if known) 2:19-bk-03343




           None

               Recipient's name and address                      Description of the gifts or contributions                Dates given                           Value


 Part 5:       Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

           None

       Description of the property lost and                      Amount of payments received for the loss                 Dates of loss            Value of property
       how the loss occurred                                                                                                                                    lost
                                                                 If you have received payments to cover the loss, for
                                                                 example, from insurance, government compensation, or
                                                                 tort liability, list the total received.

                                                                 List unpaid claims on Official Form 106A/B (Schedule
                                                                 A/B: Assets – Real and Personal Property).

 Part 6:       Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

           None.

                Who was paid or who received                         If not money, describe any property transferred           Dates                Total amount or
                the transfer?                                                                                                                                value
                Address
       11.1.    CAMPBELL & COOMBS, P.C.
                1811 S. Alma School Road,
                Suite 225
                Mesa, AZ 85210                                       Attorney Fees                                                                        $4,665.00

                Email or website address
                heciii@haroldcampbell.com

                Who made the payment, if not debtor?




       11.2.    CROSS LAW FIRM, P.L. C.
                1850 N. CENTRAL AVE.,
                SUITE 1150
                Phoenix, AZ 85004                                    $20,000 RETAINER ($14,000 REFUNDED)                       9/2018                     $6,000.00

                Email or website address


                Who made the payment, if not debtor?
                CARLSON INVESTMENT GROUP,
                LLC



12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

           None.




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                     page 3
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                   Best Case Bankruptcy
            Case 2:19-bk-03343-EPB                             Doc 8 Filed 03/29/19 Entered 03/29/19 14:39:13                                       Desc
                                                              Main Document    Page 16 of 23
 Debtor        SMARTCOMM, LLC                                                                            Case number (if known) 2:19-bk-03343



       Name of trust or device                                       Describe any property transferred                Dates transfers             Total amount or
                                                                                                                      were made                            value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

           None.

               Who received transfer?                            Description of property transferred or                  Date transfer            Total amount or
               Address                                           payments received or debts paid in exchange             was made                          value

 Part 7:       Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


           Does not apply

                 Address                                                                                                   Dates of occupancy
                                                                                                                           From-To
       14.1.     3131 E. CAMELBACK ROAD, SUITE 450                                                                         5/2009 - 12/2018
                 Phoenix, AZ 85016

 Part 8:       Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

            No. Go to Part 9.
            Yes. Fill in the information below.


                 Facility name and address                       Nature of the business operation, including type of services            If debtor provides meals
                                                                 the debtor provides                                                     and housing, number of
                                                                                                                                         patients in debtor’s care

 Part 9:       Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

            No.
            Yes. State the nature of the information collected and retained.

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

            No. Go to Part 10.
            Yes. Does the debtor serve as plan administrator?


 Part 10:      Certain Financial Accounts, Safe Deposit Boxes, and Storage Units




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                   page 4
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                 Best Case Bankruptcy
             Case 2:19-bk-03343-EPB                            Doc 8 Filed 03/29/19 Entered 03/29/19 14:39:13                                     Desc
                                                              Main Document    Page 17 of 23
 Debtor      SMARTCOMM, LLC                                                                             Case number (if known) 2:19-bk-03343




18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

          None
              Financial Institution name and                     Last 4 digits of         Type of account or          Date account was             Last balance
              Address                                            account number           instrument                  closed, sold,            before closing or
                                                                                                                      moved, or                         transfer
                                                                                                                      transferred

19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


          None

       Depository institution name and address                       Names of anyone with                 Description of the contents          Do you still
                                                                     access to it                                                              have it?
                                                                     Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.


          None

       Facility name and address                                     Names of anyone with                 Description of the contents          Do you still
                                                                     access to it                                                              have it?
       ALLSTATE SELF-STORAGE                                         IOTA NETWORKS LLC                    OLD MARKETING                           No
       3443 E. INDIAN SCHOOL RD.                                     ROB SOMERS                           MATERIALS, FOLDERS,                     Yes
       Phoenix, AZ 85018                                                                                  SIGNS, PAPER GOODS



 Part 11:     Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

        None

       Owner's name and address                                      Location of the property             Describe the property                             Value
       SCHEDULE F                                                                                                                                           $0.00



 Part 12:     Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

      Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
      owned, operated, or utilized.

      Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
      similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.


Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                  page 5
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                               Best Case Bankruptcy
            Case 2:19-bk-03343-EPB                             Doc 8 Filed 03/29/19 Entered 03/29/19 14:39:13                                   Desc
                                                              Main Document    Page 18 of 23
 Debtor      SMARTCOMM, LLC                                                                             Case number (if known) 2:19-bk-03343




            No.
            Yes. Provide details below.

       Case title                                                    Court or agency name and             Nature of the case                            Status of case
       Case number                                                   address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

            No.
            Yes. Provide details below.

       Site name and address                                         Governmental unit name and               Environmental law, if known               Date of notice
                                                                     address

24. Has the debtor notified any governmental unit of any release of hazardous material?

            No.
            Yes. Provide details below.

       Site name and address                                         Governmental unit name and               Environmental law, if known               Date of notice
                                                                     address

 Part 13:     Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

          None

    Business name address                                     Describe the nature of the business              Employer Identification number
                                                                                                               Do not include Social Security number or ITIN.

                                                                                                               Dates business existed
    25.1.    PSI, LLC                                         FCC LICENSES                                     EIN:

                                                                                                               From-To      2010 - PRESENT

    25.2.    LICENSE ACQUISITIONS,                            FCC LICENSES                                     EIN:
             LLC
                                                                                                               From-To      2010 - PRESENT

    25.3.    SMARTCOMM LICENSE                                FCC LICENSES                                     EIN:         26-299368
             SERVICES, LLC
                                                                                                               From-To      2007 - 3/2019


26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
              None

       Name and address                                                                                                                        Date of service
                                                                                                                                               From-To

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

              None


    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

              None

Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                          page 6
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                        Best Case Bankruptcy
            Case 2:19-bk-03343-EPB                             Doc 8 Filed 03/29/19 Entered 03/29/19 14:39:13                                           Desc
                                                              Main Document    Page 19 of 23
 Debtor      SMARTCOMM, LLC                                                                             Case number (if known) 2:19-bk-03343



       Name and address                                                                                      If any books of account and records are
                                                                                                             unavailable, explain why

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

              None

       Name and address
       26d.1.       FRIEDMAN, LLP
                    1700 BROADWAY
                    New York, NY 10019

27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

            No
            Yes. Give the details about the two most recent inventories.

                Name of the person who supervised the taking of the                         Date of inventory        The dollar amount and basis (cost, market,
                inventory                                                                                            or other basis) of each inventory

28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.



29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


            No
            Yes. Identify below.


30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

            No
            Yes. Identify below.

                Name and address of recipient                    Amount of money or description and value of             Dates              Reason for
                                                                 property                                                                   providing the value

31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

            No
            Yes. Identify below.

    Name of the parent corporation                                                                             Employer Identification number of the parent
                                                                                                               corporation

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

            No
            Yes. Identify below.

    Name of the pension fund                                                                                   Employer Identification number of the parent
                                                                                                               corporation




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                  page 7
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                Best Case Bankruptcy
            Case 2:19-bk-03343-EPB                             Doc 8 Filed 03/29/19 Entered 03/29/19 14:39:13                                    Desc
                                                              Main Document    Page 20 of 23
 Debtor      SMARTCOMM, LLC                                                                             Case number (if known) 2:19-bk-03343




 Part 14:     Signature and Declaration

      WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
      connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
      18 U.S.C. §§ 152, 1341, 1519, and 3571.

      I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
      and correct.

      I declare under penalty of perjury that the foregoing is true and correct.

 Executed on         March 29, 2019

 /s/ CAROLE DOWNS                                                       CAROLE DOWNS
 Signature of individual signing on behalf of the debtor                Printed name

 Position or relationship to debtor         MANAGER

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
   No
   Yes




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                               page 8
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
            Case 2:19-bk-03343-EPB                             Doc 8 Filed 03/29/19 Entered 03/29/19 14:39:13                                  Desc
                                                              Main Document    Page 21 of 23
B2030 (Form 2030) (12/15)
                                                               United States Bankruptcy Court
                                                                      District of Arizona
 In re       SMARTCOMM, LLC                                                                                   Case No.      2:19-bk-03343
                                                                              Debtor(s)                       Chapter       7

                          DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.     Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
       compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
       be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept                                                  $                  4,665.00
             Prior to the filing of this statement I have received                                        $                  4,665.00
             Balance Due                                                                                  $                       0.00

2.     $    335.00        of the filing fee has been paid.

3.     The source of the compensation paid to me was:

                  Debtor                  Other (specify):

4.     The source of compensation to be paid to me is:

                  Debtor                  Other (specify):

5.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

6.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

       a. [Other provisions as needed]
               Negotiations with secured creditors to reduce to market value; exemption planning; preparation and filing of
               reaffirmation agreements and applications as needed; preparation and filing of motions pursuant to 11 USC
               522(f)(2)(A) for avoidance of liens on household goods.

7.     By agreement with the debtor(s), the above-disclosed fee does not include the following service:
               Representation of the debtors in any contested matter, dischargeability actions, judicial lien avoidances, relief
               from stay actions or any other adversary proceeding.
                                                                       CERTIFICATION
       I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
 this bankruptcy proceeding.

     March 29, 2019                                                           /s/ Harold E. Campbell
     Date                                                                     Harold E. Campbell 005160
                                                                              Signature of Attorney
                                                                              CAMPBELL & COOMBS, P.C.
                                                                              1811 S. Alma School Road, Suite 225
                                                                              Mesa, AZ 85210
                                                                              480-839-4828 Fax: 480-897-1461
                                                                              heciii@haroldcampbell.com
                                                                              Name of law firm




Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                         Best Case Bankruptcy
             Case 2:19-bk-03343-EPB                            Doc 8 Filed 03/29/19 Entered 03/29/19 14:39:13                              Desc
                                                              Main Document    Page 22 of 23
                                                               United States Bankruptcy Court
                                                                       District of Arizona
 In re      SMARTCOMM, LLC                                                                             Case No.   2:19-bk-03343
                                                                                Debtor(s)              Chapter    7

                                                                                                       Check if this is an
                                                                                                    Amended/Supplemental Mailing List
                                                                                                    (Include only newly added or
                                                                                                    changed creditors.)


                                                           MAILING LIST DECLARATION


            I, the MANAGER of the corporation named as the debtor in this case, do hereby certify, under penalty of perjury, that the

Master Mailing List, consisting of 2 sheet(s), is complete, correct and consistent with the debtor(s)' Schedules.




 Date:       March 29, 2019                                          /s/ CAROLE DOWNS
                                                                     CAROLE DOWNS/MANAGER
                                                                     Signer/Title

 Date: March 29, 2019                                                /s/ Harold E. Campbell
                                                                     Signature of Attorney
                                                                     Harold E. Campbell 005160
                                                                     CAMPBELL & COOMBS, P.C.
                                                                     1811 S. Alma School Road, Suite 225
                                                                     Mesa, AZ 85210
                                                                     480-839-4828 Fax: 480-897-1461




MML_Requirements_8-2018                                                                                                                MML-3

Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                            Best Case Bankruptcy




            Case 2:19-bk-03343-EPB                             Doc 8 Filed 03/29/19 Entered 03/29/19 14:39:13                Desc
                                                              Main Document    Page 23 of 23
